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IN THE UNITED STATES DISTRICT COURT !"_ "" ?..,13.(;.
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

LARRY STEVE MELTON, LARRY S.
MELTON, R & J Of TENNESSEE,
lNC . ,

Plaintiffs,
vS. CiV. NO. 02-1152-]3 P
BANK OF LEXINGTON branch Of
the BANK OF FRIENDSHIP, et
al.,

Defendants.

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ORDER DENYING WITHOUT PREJUDICE PLAINTIFF LARRY S. MELTON'S
MOTION FOR PROTECTIVE ORDER

 

Before the court is plaintiff Larry S. Melton's Motion for
Protective Order, filed April 28, 2005 (dkt #590). Responses were
filed on May 5, 2005 by defendant Daniel J. Perky; May 9, 2005 by
defendant Cityr of Lexington; May' 10, 2005 by' defendants Benny
Fesmire and B&H Investments, Inc.; May 16, 2005 by defendant Bank
of Friendship; and May 18, 2005 by defendants Frankie Stanfill,
Kevin Carter and the law firm of Milam, Carter, and Stanfill. The
motion was referred to the Magistrate Judge for determination.

In. the motion, Melton contends that he has already' been
deposed at length on six prior occasions, and that the defendants
intend to further depose him “for at least seven additional days.”
Plaintiff asks that the court enter a protective order to allow the

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defendants to depose him for only one more day, and that “{i]f
further examination of the Plaintiff Larry S. Melton is warranted
after the examination of all the defendants, it is within the
discretion of the Court to permit it then.” (Plaintiff's Memo. in
Support at 6).

In their responses, the defendants argue that (1) plaintiff
has failed to consult with opposing counsel prior to filing his
motion, as required by this court's local rules and Fed. R. Civ. P.
26(c); (2) the seven days in June referenced in plaintiff's motion
also includes dates that the other parties will be deposed; and (3)
the plaintiff's deposition has required extra time due to the
extensive allegations in this lawsuit.

Federal Rule of Civil Procedure 30(d)(2) provides that a
deposition is limited to one day of seven hours, unless otherwise
authorized by the court or stipulated by the parties. However,
“the court must allow additional time consistent with Rule 26(b)(2)
if needed for a fair examination of the deponent or if the deponent
or another person, or other circumstance, impedes or delays the
examination.” Fed. R. Civ. P. 30(d)(2). Rule 26{c) allows a
court, for good cause shown, to impose limits on discovery to
protect a party from annoyance, embarrassment, oppression, or undue
burden and expense.

This same rule, however, also requires the moving party to
consult in good faith with opposing counsel in an effort to resolve

the dispute without court action. See Fed. R. Civ. P. 26(€).

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Consultation is also required by the local rules. See LR
7.2(a)(1)(B). Consultation is particularly important with this
motion, since it appears that plaintiff may have mistakenly
believed that the defendants want to depose him for seven more
days. Therefore, the motion is DENIED without prejudice.

The court notes, however, that pursuant to Rule 30(d)(2), the
defendants may not depose Melton for more than seven hours unless
authorized by the court or stipulated by the parties. Although the
court agrees that this case involves numerous parties and
allegations, and it appears that at least two attorneys have not
yet had an opportunity to depose the plaintiff, the defendants have
not demonstrated in their responses why a fair examination of the
plaintiff could not be completed with one more full day of
deposition. To the extent the defendants wish. to depose the
plaintiff in excess of seven hours, they must file a motion and
obtain. court authorization, or‘ may' do so through. stipulation.
Without such court authorization or stipulation, the defendants may
only depose the plaintiff for an additional seven hours.

lT IS SO ORDERED.

 

TU M. PHAl\/i
United States Magistrate Judge

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May 25, 2005 to the parties listed.

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